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                                                        THE HONORABLE JOHN C. COUGHENOUR
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                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9    ROBERT SINCLAIR, et al.,                              CASE NO. C19-1971-JCC
10                            Plaintiffs,                   MINUTE ORDER
11            v.

12    HOME DEPOT USA, INC.,

13                            Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court sua sponte. Plaintiffs recently filed a motion to
18   remand and noted the motion for consideration November 20, 2020, consistent with Local Civil
19   Rule 7(d)(3). (See Dkt. No. 32.) In the interest of judicial efficiency, the Court will consider this
20   motion concurrent to its consideration of Defendant’s motion to dismiss (Dkt. No. 26). The Clerk
21   is DIRECTED to renote Defendant’s motion to dismiss (Dkt. No. 26) to November 20, 2020.
22          DATED this 3rd day of November 2020.
23                                                            William M. McCool
                                                              Clerk of Court
24

25                                                            s/Paula McNabb
                                                              Deputy Clerk
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